Case 1:24-mc-01574-DIl Document1-5 Filed 12/20/24 Pagelof9

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
AUSTIN DIVISION

IN RE: REQUEST FOR JUDICIAL
ASSISTANCE FROM THE 30TH ia
LABOR COURT OF ISTANBUL, el anGd 16/4
ANADOLU, TURKIVE IN THE Case No® oe
MATTER OF RAMAZAN SILAH V.

TURKEY HALKBANK JOINT-STOCK

COMPANY

/

GOVERNMENT’S MEMORANDUM OF LAW IN SUPPORT
OF APPLICATION FOR ORDER PURSUANT TO 28 U.S.C. § 1782

The United States of America, by and through counsel, submits this Memorandum of
Law in support of the Application for Order,’ pursuant to 28 U.S.C. § 1782(a), to execute a
Letter of Request from judicial authorities in Istanbul, Anadolu, Tiirkiye, for international
judicial assistance to obtain documents from X Corporation (“X”). X has advised that it does not
object to the appointment of a Department of Justice Attorney as commissioner and takes no
position on the issuance of the subpoena, but it reserves all rights in how it responds to the

subpoena.

“Letters Rogatory are customarily received and appropriate action taken with respect thereto ex
parte. The witnesses can and have raised objections and exercised their due process rights by
motions to quash the subpoenas.” Jn re Letters Rogatory from Tokyo Dist., Tokyo, Japan, 539
F.2d 1216, 1219 (9th Cir. 1976). See also Banca Pueyo SA v. Lone Star Fund LX (US), L.P., 55
F.4th 469, 474 (Sth Cir. 2022) (commenting that “it is not unusual for § 1782(a) applications to
be made on an ex parte basis to the district court” and holding that the ex parte process should
not restrict a respondent’s legal rights). Note, even though these applications are generally filed
ex parte, they do not need to be filed under seal. See, e.g., Order denying Motion to Seal U.S.’s
Application for Ex Parte Order Appointing Commissioner Pursuant to 28 U.S.C. § 1782, In re
Mutual Assistance of Local Court of Wetzlar, Germany, 1:17-mc-00078-SKO, 2018 WL 306678,
at *3 (E.D. Cal. Jan. 5, 2018).
Case 1:24-mc-01574-DIl Document1-5 Filed 12/20/24 Page 2of9

INTRODUCTION

The request for international judicial assistance comes from the 30th Labor Court of
Istanbul, Anadolu, Tiirkiye (“Turkish Court”). Specifically, the Turkish Court issued a Letter of
Request seeking assistance to obtain documents for use in Ramazan Silah v. Turkey Halkbank
Joint-Stock Company, Foreign Reference Number 2023/396. See Declaration of Trial Attorney
Krysta M. Stanford, | 2 & Ex. 1 [hereinafter Stanford Decl.] (Letter of Request received by the

Office of International Judicial Assistance on November 21, 2023).

The facts of this case, as stated in the Letter of Request, indicate that this is a civil
proceeding in which the Turkish Court is adjudicating the plaintiff's labor claim for
reinstatement after his employment contract was terminated on the grounds that he humiliated
the defendant through his posts on Twitter (now X) during the pandemic. In order to make its
determination, the Court is requesting information regarding the user record information
associated with an X Corp. account with the username “devilishsaturn” (the “Account”) —
specifically, the email address and telephone number associated with the Account, and the IP

addresses for the following three posts by the Account:

¢ October 10, 2021 at 11:42 p.m.: “Halkbank is committing a fascist practice by
forcing its staff to take the PCR test that its customers do not want. I have been
resisting against this fascist practice for 29 days. My paid leave ends next
month, after which they put me on unpaid leave and put financial pressure and
threats on me.”

e October 17, 2021 at 2:52 a.m.: “Let Halkbank hear this news. They have been
usurping my right to work with bullying for exactly 35 days.”

e October 17, 2021 at 2:54 a.m.: “Halkbank has been usurping my right to work
for 35 days and is threatening to put me on unpaid leave on November 4th. This
news is exactly what such tyrannical companies should read.”

The Turkish Court’s request was transmitted to the U.S. Department of Justice, Civil
Division, Office of Foreign Litigation, Office of International Judicial Assistance in Washington,

D.C. pursuant to the Hague Convention on the Taking of Evidence Abroad in Civil or
Case 1:24-mc-01574-DIl Document1-5 Filed 12/20/24 Page3of9

Commercial Matters, Mar. 18, 1970, 23 U.S.T. 2555, 847 U.N.T.S. 12140 [hereinafter Hague
Evidence Convention]. In order to execute this request for international judicial assistance,
authority must be obtained from this Court. 28 U.S.C. § 1782(a).

ARGUMENT

I. THE HAGUE EVIDENCE CONVENTION

The Hague Evidence Convention affords each signatory nation the use of the judicial
process of other signatory nations, where such assistance is needed in civil or commercial
matters, “to facilitate the transmission and execution of Letters of Request and to further the
accommodation of the different methods which they use for this purpose.” Hague Evidence
Convention pmbl. The Hague Evidence Convention “prescribes certain procedures by which a
judicial authority in one contracting state may request evidence located in another contracting
state.” Société Nationale Industrielle Aérospatiale v. U.S. Dist. Court for the S. Dist. of Iowa,
482 U.S. 522, 524 (1987). The Hague Evidence Convention is in force in both the United States
and Tiirkiye. Hague Conference on Private International Law, Status Table for the Convention of
18 March 1970 on the Taking of Evidence Abroad in Civil or Commercial Matters, available at

https://www.hcch.net/en/instruments/conventions/status-table/?cid=82 (last visited Dec. 16,

2024) (the Hague Evidence Convention entered into force in Tiirkiye on October 12, 2004).
When executing a Letter of Request, the Hague Evidence Convention requires a
Requested Authority to “apply the appropriate measures of compulsion in the instances and to

the same extent as are provided by its internal law for the execution of orders issued by the
authorities of its own country or of requests made by parties in internal proceedings.” Hague
Evidence Convention, art. 10. Furthermore, Article 9 of the Hague Evidence Convention

provides, in pertinent part, that: “the judicial authority which executes a Letter of Request shall
Case 1:24-mc-01574-DIl Document1-5 Filed 12/20/24 Page4of9

apply its own law as to the methods and procedures to be followed, and that a ‘Letter of Request
shall be executed expeditiously.” Id. at art. 9.

Under Article VI of the United States Constitution, treaties, such as the Hague Evidence
Convention, are the law of the land, on an equal footing with acts of Congress, and are binding
on the courts. See Whitney v. Robertson, 124 U.S. 190, 194 (1888) (“By the constitution, a treaty
is placed on the same footing, and made of like obligation, with an act of legislation.”). See also
Reid v. Covert, 354 U.S. 1, 18 (2000) (acknowledging that the Supreme Court “has also
repeatedly taken the position that an Act of Congress, which must comply with the Constitution,
is on a full parity with a treaty”).

Il. STATUTORY CONSIDERATIONS WEIGH IN FAVOR OF GRANTING
THE APPLICATION OF THE UNITED STATES

Section 1782 authorizes a district court to order a person who “resides or is found” in that
district to produce testimonial, documentary, or physical evidence “for use in a proceeding in a
foreign or international tribunal.” /d. § 1782(a). The statute permits a court to direct that the
evidence “be produced before a person appointed by the court,” who would be empowered to
“administer any necessary oath and take the testimony or statement.” Jd. In addition, a § 1782
order “may prescribe the practice and procedure” for producing the document, including the
practice and procedure of the requesting tribunal. /d. “To the extent that the order does not
prescribe otherwise, the testimony or statement shall be taken, and the document or other thing
produced, in accordance with the Federal Rules of Civil Procedure.” Jd. District courts have
repeatedly appointed Department of Justice Attorneys to act as § 1782 commissioners pursuant
to this provision for the purpose of rendering judicial assistance to foreign courts. See, e.g., In re
Clerici, 481 F.3d 1324, 1327 (11th Cir. 2007) (affirming a district court’s appointment of an

Assistant United States Attomey to obtain sworn answers to questions posed in letters rogatory).
Case 1:24-mc-01574-DIl Document1-5 Filed 12/20/24 Page5of9

Section 1782 “is the product of congressional efforts, over the span of nearly 150 years,
to provide federal-court assistance in gathering evidence for use in foreign tribunals.” Zntel Corp.
v. Advanced Micro Devices, Inc., 542 U.S. 241, 247 (2004). By this law, Congress intended that
the United States set an example to other nations by making judicial assistance generously
available. See, e.g., In re Request for Assistance from Ministry of Legal Affairs of Trin. &
Tobago, 848 F.2d 1151, 1153-54 (11th Cir. 1988) (discussing several historical instances in
which Congress has broadened § 1782, each time increasing the statute’s ability to provide
international judicial assistance), abrogated on other grounds by Intel Corp., 542 U.S. 241.

This Court is authorized to provide assistance to the Turkish Court if the three
requirements set forth in § 1782 are met. Those requirements are: (1) the person from whom
discovery is sought resides or is found in the district; (2) the discovery is for use in a proceeding
before a foreign or international tribunal; and (3) the application is made “by a foreign or
international tribunal” or “any interested person.” 28 U.S.C. § 1782(a). Accord In re Application
Pursuant to 28 U.S.C. § 1782 for an Order Permitting Bayer AG to Take Discovery, 146 F.3d
188, 193 (3d Cir. 1988); Schmitz v. Bernstein Liebhard & Lifshitz, LLP, 376 F.3d 79, 83 (2d Cir.
2004) (quoting Jn re Application of Esses, 101 F.3d 873 (2d Cir. 1996)).

Here, each of these threshold statutory requirements is easily met. First, X “resides or is
found in” the Western District of Texas because its corporate headquarters is located in Bastrop,
Texas. Second, the Letter of Request explains that requested evidence “for use in a proceeding
before a foreign tribunal” as these documents are needed to obtain the user record information
associated with the X account username. See Stanford Decl. | 2 & Ex. 1. Third, the Letter of
Request is made by the Turkish Court, id., which is a “foreign or international tribunal,”

28 U.S.C. § 1782(a).
Case 1:24-mc-01574-DIl Document1-5 Filed 12/20/24 Page6of9

Il. DISCRETIONARY CONSIDERATIONS WEIGH IN FAVOR OF GRANTING
THE APPLICATION OF THE UNITED STATES

Although “a district court is not required to grant a § 1782(a) discovery application
simply because it has the authority to do so,” Zntel, 542 U.S. at 264, § 1782 “grants district courts
wide discretion to determine whether to grant discovery and equally wide discretion to tailor
such discovery to avoid attendant problems,” Esses, 101 F.3d at 876.

The Supreme Court has identified four factors that a court may consider in exercising its
wide discretion to grant a § 1782(a) request: (1) whether the person from whom the discovery is
sought is a participant in the foreign proceeding; (2) the nature of the foreign tribunal, character
of the proceedings, and the receptivity of the foreign tribunal to judicial assistance; (3) whether
the request conceals an attempt to circumvent foreign proof-gathering or other policies of a
foreign country or the United States; and (4) whether the request is unduly intrusive or
burdensome. Jntel, 542 US. 264-65. -

The statute’s “twin aims of providing efficient means of assistance to participants in
international litigation in our federal courts and encouraging foreign countries by example to
provide similar means of assistance to our courts” should guide the Court’s analysis. Jn re Malev
Hungarian Airlines, 964 F.2d 97, 100 (2d Cir. 1992). See also United States v. Morris (In re
Letter of Request from Amtsgericht Ingolstadt, Fed. Republic of Ger.), 82 F.3d 590, 592 (4th Cir.
1996) (“Plainly, the . . . statute envision(s] considerable cooperation with foreign courts’ requests
for assistance and a general practice of reciprocity.”). Here again, each of these discretionary
factors weigh in favor of assisting the Turkish Court.

With respect to the first factor, “although this factor was originally expressed as a
‘participant’ versus ‘nonparticipant’ analysis under the facts presented in Jntel, the true question

at hand is whether the requested discovery is available to the foreign tribunal without the
Case 1:24-mc-01574-DIl Document1-5 Filed 12/20/24 Page 7of9

assistance of this Court.” Jn re Request for Judicial Assistance from the Dist. Court in Svitavy,
Czech, 748 F. Supp. 2d 522, 526 (E.D. Va. 2010) [hereinafter In re Svitavy]. See also Intel, 542
U.S. at 264 (“[N]onparticipants in the foreign proceeding may be outside the foreign tribunal’s
jurisdictional reach; hence, their evidence, available in the United States, may be unobtainable
absent § 1782(a) aid.”); Palantir Techs., Inc. v. Abramowitz, 415 F. Supp. 3d 907, 912-13 (N.D.
Cal. 2019) (finding that the first factor weighed in favor of granting the § 1782 application
because the requesting German court was unable to compel the production of documents and
testimony from a party residing or located outside Germany without U.S. court assistance). X is
not a party to the proceedings and the evidence held by X appears to be outside the jurisdictional
reach of the Turkish Court because X is physically located in Bastrop, Texas and the Turkish
Court has formally requested the assistance of the United States pursuant to the Hague Evidence
Convention.

With respect to the second factor, there is nothing in the Letter of Request to suggest that
this Court should decline to grant the Application based on the nature of the Turkish Court or the
character of the proceedings. Additionally, this request was initiated by the Turkish Court and
not by an independent party; therefore, the Turkish Court is clearly receptive to the assistance of
this Court. See In re Request for Int’l Jud. Assistance from the Norrkoping Dist. Court, Sweden,
219 F. Supp. 3d 1061, 1063 (D. Colo. 2015) (holding that because the Swedish court sought
judicial assistance from the United States, the second Jntel factor weighed in favor of
disclosure.).

With respect to the third factor, because the requester is the Turkish Court, there is
sufficient assurance that the request for judicial assistance is not an attempt to circumvent

Turkish discovery rules or to thwart the policies of Tirkiye. See In re Svitavy, 748 F. Supp. 2d at
Case 1:24-mc-01574-DIl Document1-5 Filed 12/20/24 Page 8of9

529 (“[T]he fact that the request was initiated by the Svitavy Court itself, rather than a private
litigant, provides sufficient assurance that the request does not attempt to circumvent Czech
discovery rules or Czech policy.”). There is also nothing to support a conclusion that the request
would thwart the policies of the United States.

And with respect to the fourth factor, the request seeks specific information regarding a
user record information associated with an X Corp. account with the username “devilishsaturn”
(the “Account”) — specifically, the email address and telephone number associated with the
Account, and the IP addresses for the three identified posts by the Account, and therefore would
not be unduly intrusive or burdensome. See, e.g., In re Application of Mesa Power Grp., LLC,
878 F. Supp. 2d 1296, 1306 (S.D. Fla. 2012) (holding that “no undue burden exists because the
discovery requests being compelled through this Order are sufficiently tailored.”). See also Mees
v. Buiter, 793 F.3d 291, 302 (2d Cir. 2015) (“{W]hether a request is intrusive or burdensome
should not be assessed based on the ‘discovery scope’ available in a foreign proceeding. Few if
any foreign jurisdictions permit the scope of discovery available in our courts.”).

Accordingly, each of the four discretionary factors set forth in Jntel favors authorizing
judicial assistance to the Turkish Court.

CONCLUSION

Attached to the Declaration of Krysta M. Stanford is the proposed subpoena that this
office intends to serve (in substantially similar format) on X should the Court grant the
Application pursuant to 28 U.S.C. § 1782(a). See Stanford Decl. | 3 & Ex. 2. We respectfully
request that the Court order X to produce the documents directly to the U.S. Department of
Justice, Civil Division, Office of Foreign Litigation, Office of International Judicial Assistance
for transmission to the 30th Labor Court of Istanbul, Anadolu, Tiirkiye. 28 U.S.C. § 1782(a)

(“The order may prescribe the practice and procedure .. . for... producing the document... .”).

8
Case 1:24-mc-01574-DIl Document1-5 Filed 12/20/24 Page9of9

WHEREFORE, the United States respectfully requests that the Court issue an Order, in
the form attached to the Application, appointing Department of Justice Trial Attorney Krysta M.
Stanford for the purpose of issuing a subpoena to execute the request for international judicial

assistance.

Dated: December 19, 2024 Respectfully submitted,

JAIME ESPARZA
United States Attorney

BRIAN M. BOYNTON
Principal Deputy Assistant Attorney
General

ADA E. BOSQUE

Acting Director, Office of Foreign
Litigation

United States Department of Justice, Civil
Division

By:

KRYSPA M. STANFORD”

Trial Attorney

United States Department of Justice, Civil
Division

Office of Foreign Litigation

Office of International Judicial Assistance
1100 L Street NW, Room 8024
Washington, DC 20530

Telephone: 202-353-2148

Email: Krysta.M.Stanford@usdoj.gov
